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                        7    WORLD COURIER INC.
                        8
                                                  UNITED STATES DISTRICT COURT
                        9
                                                CENTRAL DISTRICT OF CALIFORNIA
                     10
                             ANTHONY COLLINS,                        Case No. 2:16-cv-4937
                     11
                                          Plaintiff,                 DEFENDANTS
                     12                                              AMERISOURCEBERGEN
                             v.                                      CORPORATION AND WORLD
                     13                                              COURIER INC.’S NOTICE TO
                             AMERISOURCEBERGEN                       FEDERAL COURT OF REMOVAL
                     14
                             CORPORATION; WORLD COURIER              [28 U.S.C. §§ 1332 , 1441 & 1446]
                     15      INC.; and DOES 1 through 100,
                             Inclusive,
                                                                     Complaint Filed: May 5, 2016
                     16
                                          Defendants.
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                        1    TO THE CLERK OF THE ABOVE-ENTITLED COURT, PLAINTIFF
                        2    ANTHONY COLLINS AND HIS ATTORNEYS OF RECORD:
                        3             PLEASE TAKE NOTICE that Defendants AmerisourceBergen Corporation and
                        4    World Courier Inc. (“Defendants”) hereby remove the above-entitled action from the
                        5    Superior Court of the State of California, County of Los Angeles, to the United States
                        6    District Court for the Central District of California, pursuant to 28 U.S.C. §§ 1441 and
                        7    1446.
                        8             This Notice is based upon the original jurisdiction of the United States District
                        9    Court over the parties under 28 U.S.C. § 1332 based upon complete diversity of
                     10      citizenship.
                     11               Defendants make the following allegations in support of removal:
                     12      I.       STATUS OF PLEADINGS, PROCESS AND ORDERS
                     13               1.    This lawsuit arises out of Plaintiff Anthony Collins’ employment with
                     14      Defendants.
                     15               2.    On May 5, 2016, Plaintiff filed a Complaint in the Superior Court of the
                     16      State of California, County of Los Angeles, entitled ANTHONY COLLINS v.
                     17      AMERISOURCEBERGEN CORPORATION; WORLD COURIER INC.; and DOES 1
                     18      through 100, Inclusive, designated as Case No. BC619621 (the “Complaint”).
                     19               3.    The Complaint purports to assert the following causes of action: (1)
                     20      disability harassment, discrimination and retaliation in violation of California
                     21      Government Code §§ 12940 et seq. (FEHA); (2) harassment, discrimination and
                     22      retaliation in violation of California Government Code §§ 12945.2 et seq. (CFRA); (3)
                     23      violation of Labor Code §§ 232.5, 6310 and 6400 (unsafe workplace/violence); (4)
                     24      violation of California Labor Code §§ 1102.5 et seq. (whistleblower statute); (5)
                     25      wrongful termination in violation of public policy; and (6) declaratory/injunctive
                     26      relief. See Declaration of Ashley J. Brick in Support of Removal (“Brick Decl.”) ¶ 2,
                     27      Ex. 1.
                     28               4.    On June 6, 2016, Defendants’ registered agent received by mail
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                        1    Summonses and copies of the Complaint. At the same time, Defendants’ registered
                        2    agent received a copy of a Civil Case Cover Sheet Addendum and Statement of
                        3    Location, Plaintiff’s Notice of Case Management Conference, a Notice of Case
                        4    Assignment, and assorted state-court stipulation forms. Brick Decl. ¶ 3, Exs. 2 & 3.
                        5    No other documents have been served upon Defendants. Brick Decl. ¶ 4.
                        6          5.     The Complaint also names as defendants “DOES 1 through 100,
                        7    Inclusive.” Defendants are informed and believe, and on that basis allege, that none
                        8    of the fictitiously named defendants have been served with a copy of the Summons
                        9    and Complaint. Therefore, the fictitiously named defendants are not parties to this
                     10      action and need not consent to removal. See Fristoe v. Reynolds Metals Co., 615 F.2d
                     11      1209, 1213 (9th Cir. 1980); 28 U.S.C. § 1441(a).
                     12            6.     On July 1, 2016, Defendants filed their Answer to Plaintiff’s Complaint
                     13      for Damages in Superior Court of the State of California, County of Los Angeles.
                     14      Brick Decl. ¶ 5, Ex. 4.
                     15      II.   JURISDICTION AND VENUE
                     16            7.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 84(c)(2) and
                     17      1391(a) because a substantial part of the acts alleged in the Complaint are alleged to
                     18      have occurred in this District.
                     19            8.     As discussed below, this Court has original jurisdiction over this action
                     20      pursuant to 28 U.S.C. § 1332(a) , and this action may be removed to this Court by
                     21      Defendants pursuant to 28 U.S.C. § 1441(b) because it is a civil action between
                     22      citizens of different states and the amount in controversy exceeds $75,000.00,
                     23      exclusive of interest and costs.
                     24            A.     There Is Complete Diversity Between the Parties.
                     25                   1.     Plaintiff Is a Citizen of California.
                     26            9.     For diversity purposes, an individual is a citizen of the state in which he
                     27      or she is domiciled. Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir.
                     28      1983); see also LeBlanc v. Cleveland, 248 F.3d 95, 100 (2d Cir. 2001) (citizenship
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                        1    determined at time lawsuit is filed).
                        2           10.    Plaintiff alleges that, at all relevant times and through the date this action
                        3    was commenced, he has resided in the State of California. Compl. ¶ 1. Therefore,
                        4    Plaintiff was at all relevant times a citizen of California.
                        5                  2.    Neither AmerisourceBergen Corporation nor World Courier
                        6                        Inc. Is a Citizen of California.
                        7           11.    For diversity purposes, a corporation “shall be deemed a citizen of any
                        8    State by which it has been incorporated and of the State where is has its principal
                        9    place of business.” 28 U.S.C. § 1332(c)(1).
                     10             12.    To determine a corporation’s principal place of business, courts apply the
                     11      “nerve center” test, which deems the principal place of business to be the state in
                     12      which the corporation’s officers direct, control, and coordinate the corporation’s
                     13      activities.   Hertz Corp. v. Friend, 559 U.S. 77, 92-93 (2010).            A corporation’s
                     14      principal place of business normally is the state in which it maintains its main
                     15      headquarters. Id.
                     16             13.    Defendant AmerisourceBergen Corporation was incorporated in the State
                     17      of Delaware. See Declaration of Carolyn Traczykiewicz in Support of Removal
                     18      (“Traczykiewicz Decl.”) ¶ 3.
                     19             14.    AmerisourceBergen Corporation’s headquarters and corporate offices are
                     20      located in Conshohocken, PA or Chesterbrook, PA, which is where it performs most
                     21      of its executive and administrative functions. Traczykiewicz Decl. ¶ 4.
                     22             15.    Defendant World Courier Inc. was incorporated in the State of Delaware.
                     23      Traczykiewicz Decl., ¶ 5.
                     24             16.    World Courier Inc.’s headquarters and corporate offices are located in
                     25      Hyde Park, NY, which is where its officers and directors perform the company’s
                     26      executive and administrative functions. Traczykiewicz Decl. ¶ 6.
                     27             17.    Therefore, neither AmerisourceBergen Corporation nor World Courier
                     28      Inc. is a citizen of the State of California for purposes of determining diversity of
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                        1    citizenship. Brietman v. May Co. Cal., 37 F.3d 562, 564 (9th Cir. 1994) (using the
                        2    “nerve center” test, corporation was citizen of state in which its corporate
                        3    headquarters were located and where its executive and administrative functions were
                        4    performed).
                        5                  3.    The Citizenship of the Doe Defendants Should Be Disregarded
                        6                        for Diversity Purposes.
                        7          18.     For purposes of removal, the citizenship of defendants sued under
                        8    fictitious names should be disregarded, and citizenship of only named defendants
                        9    should be considered. 28 U.S.C. § 1441(a).
                     10            19.     Defendants Does 1 through 100 are fictitious. The Complaint does not
                     11      state the identity or status of these fictitious defendants, nor does it state any specific
                     12      allegation of wrongdoing against any fictitious defendants. Pursuant to § 1441(a), the
                     13      citizenship of these fictitious defendants cannot destroy the diversity of citizenship
                     14      between the parties and should be disregarded. Newcombe v. Adolf Coors Co., 157
                     15      F.3d 686, 690 (9th Cir. 1998).
                     16            B.      The Amount in Controversy Exceeds $75,000.
                     17            20.     Plaintiff’s Complaint does not specify the amount that he seeks to
                     18      recover from Defendants in this action. Where removal is based on diversity of
                     19      citizenship and the initial pleading seeks a money judgment but does not demand a
                     20      specific sum, “the notice of removal may assert the amount in controversy,” 28 U.S.C.
                     21      1446(c)(2), and a removing defendant “need include only a plausible allegation that
                     22      the amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee Basin
                     23      Operating Co. v. Owens, 135 S. Ct. 547, 554 (U.S. 2014).
                     24            21.     In measuring the amount in controversy, the Court must assume that the
                     25      allegations of the complaint are true and that a jury will return a verdict in favor of the
                     26      plaintiff on all claims asserted in her complaint. Kenneth Rothschild Trust v. Morgan
                     27      Stanley Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal. 2002). The ultimate
                     28      inquiry is the amount that is put “in controversy” by the plaintiff’s Complaint, and not
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                        1    how much, if anything, the defendant will actually owe. Rippee v. Boston Mkt. Corp.,
                        2    408 F. Supp. 2d 982, 986 (S.D. Cal. 2005) (citing Schere v. Equitable Life Assurance
                        3    Soc’y of the United States, 347 F.3d 394, 399 (2d Cir. 2003) (recognizing that the
                        4    ultimate or provable amount of damages is not what is considered in the removal
                        5    analysis; rather, it is the amount put in controversy by the plaintiff’s complaint)). In
                        6    determining the amount in controversy, the Court may consider damages awards in
                        7    similar cases. Kroske v. U.S. Bank Corp., 432 F.3d 976, 980 (9th Cir. 2005).
                        8           22.   Although Defendants deny the validity and merit of all of Plaintiff’s
                        9    claims and allegations and deny that Plaintiff is entitled to any relief, Plaintiff’s claims
                     10      establish an amount “in controversy” in excess of the jurisdictional minimum of
                     11      $75,000, exclusive of interest and costs, as set forth below:
                     12                   1.     Lost Wages
                     13             23.   Plaintiff’s Complaint includes five separate causes of action arising out
                     14      of the termination of his employment (and a request for injunctive relief).            The
                     15      damages that he seeks to recover include loss of earnings. Compl. at 21 (prayer for
                     16      relief).
                     17             24.   If Plaintiff prevails on his wrongful termination and/or his discrimination
                     18      claims, he potentially could recover the amount he would have earned up through the
                     19      date of trial, including any benefits or pay increases.          See Judicial Council of
                     20      California, Civil Jury Instructions (“CACI”) No. 2433 (2012); Wise v. S. Pac. Co., 1
                     21      Cal. 3d 600, 607 (1970).
                     22             25.   At the time Plaintiff’s employment ended on or about October 3, 2014,
                     23      he was paid at the rate of $18.38 per hour. See Declaration of Annmarie Giallanza in
                     24      Support of Removal ¶ 3. Assuming conservatively that Plaintiff worked 40 hours per
                     25      week, if he were to recover back wages from October 3, 2014 to the present, he
                     26      potentially could recover back wages totaling approximately $66,900 ($18.38/hr. x 40
                     27      hrs. x 91 wks.). Moreover, if the case proceeds to trial in June 2017 – a year from
                     28      when Defendants were served – and Plaintiff remains unemployed, he may be seeking
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                        1    a total of about 138 weeks of lost wages, or approximately $101,460 ($18.38/hr. x 40
                        2    hrs. x 138 wks.). Thus, the amount in controversy attributable to Plaintiff’s claims for
                        3    lost wages alone establishes an amount in controversy in excess of the jurisdictional
                        4    minimum.
                        5                 2.     Emotional Distress Damages
                        6          26.    Plaintiff alleges that, as a result of Defendants’ alleged unlawful conduct,
                        7    he has suffered, inter alia, “severe and permanent emotional and mental distress and
                        8    anguish, humiliation, embarrassment, fright, shock, pain, discomfort and anxiety.”
                        9    Compl. ¶¶ 28, 42, 54, 67, 81. Plaintiff’s potential recovery of such damages further
                     10      augments the foregoing amount and demonstrates that the jurisdictional prerequisite
                     11      for removal of this action is met. See Gibson v. Chrysler Corp., 261 F.3d 927, 945
                     12      (9th Cir. 2001) (holding that emotional distress damages are included in determining
                     13      amount in controversy); see also Velez v. Roche, 335 F. Supp. 2d 1022, 1038-40 (N.D.
                     14      Cal. 2004) (surveying discrimination and harassment cases awarding emotional
                     15      distress damages and concluding that “substantial jury awards of hundreds of
                     16      thousands of dollars for non-economic damages have been upheld where there is
                     17      evidence . . . that the plaintiff suffered heightened mental anguish”).
                     18            27.    In Kroske, the Ninth Circuit found that the district court’s conclusion that
                     19      the plaintiff’s “emotional distress damages would add at least an additional $25,000 to
                     20      her claim” was not clearly erroneous, where she had only $55,000 in lost wages, thus
                     21      satisfying the amount in controversy requirement “even without including a potential
                     22      award of attorney’s fees.” 432 F.3d at 980. Based on the conservative estimate from
                     23      Kroske, Plaintiff’s potential recovery of emotional distress damages could add at least
                     24      $25,000 to the amount in controversy.
                     25                   3.     Punitive Damages
                     26            28.    Plaintiff also seeks an award of punitive damages. See Compl. at 22
                     27      (prayer for relief). Under California law, punitive damages may be recovered “where
                     28      it is proven by clear and convincing evidence that the defendant has been guilty of
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                        1    oppression, fraud, or malice.” CAL. CIV. CODE § 2394(a). Punitive damages may be
                        2    included in calculating the amount in controversy. See Davenport v. Mut. Benefit
                        3    Health & Accident Ass’n, 325 F.2d 785, 787 (9th Cir. 1963). A single-digit ratio (i.e.,
                        4    no more than nine-to-one) is typically appropriate for an award of punitive damages.
                        5    State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 425 (2003).
                        6          29.    Plaintiff alleges, inter alia, that he suffered from an actual and/or
                        7    perceived disability and that Defendants discriminated against him on the basis of his
                        8    disability by ignoring his requests for accommodation, failing to move him to another
                        9    position, and terminating his employment. Compl. ¶¶ 7, 13-14, 18-20. Jury verdicts
                     10      in California cases involving similar factual allegations demonstrate that, were
                     11      Plaintiff to prove the allegations of the Complaint and prevail at trial, his punitive
                     12      damages could bring the amount in controversy to well over the $75,000 threshold.
                     13      For instance, in Roby v. McKesson Corp., 47 Cal. 4th 686 (2009), the plaintiff alleged
                     14      that, after she began experiencing panic attacks during her employment, her employer
                     15      refused to accommodate her condition by permitting her to be absent without notice,
                     16      and ultimately terminated her employment for violating its attendance policy. The
                     17      plaintiff then sued and asserted claims under the FEHA for disability discrimination
                     18      and harassment, failure to accommodate, and wrongful termination. The jury returned
                     19      a verdict for the plaintiff and awarded punitive damages of $15 million against the
                     20      employer. The intermediate appellate court reduced the punitive damages award to $2
                     21      million, and the California Supreme Court further reduced it to $1,905,000 (equal to
                     22      the compensatory damages award). In McGee v. Tucoemas Federal Credit Union,
                     23      153 Cal. App. 4th 1351 (2007), the plaintiff alleged that, after she had taken a leave of
                     24      absence to undergo treatment for breast cancer, her employer required her to return to
                     25      work after four months and told her that she would be fired if she needed more time.
                     26      When she requested that she be permitted to work from home, her request was denied;
                     27      upon returning to work, she was demoted to a position that involved greater physical
                     28      demands.    The plaintiff resigned her position due to stress.      She then sued the
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                        1    employer, alleging claims of disability discrimination, failure to provide a reasonable
                        2    accommodation, and failure to engage in the interactive process. The jury returned a
                        3    verdict for the plaintiff and awarded her $1.2 million in punitive damages against the
                        4    employer. The appellate court affirmed.
                        5          30.    Although Defendants dispute that Plaintiff is entitled to recover any
                        6    amount in punitive damages, the Roby and McGee decisions illustrate that a punitive
                        7    damages award potentially could alone exceed $1 million. And, most conservatively,
                        8    the amount awarded in punitive damages in this matter could be at least $50,000.
                        9                 4.    Attorney’s Fees
                     10            31.    Plaintiff’s Complaint also includes a claim for attorney’s fees. Compl. at
                     11      21 (prayer for relief). Attorney’s fees that are potentially recoverable by statute also
                     12      are included in determining the amount in controversy. Galt G/S v. JSS Scandinavia,
                     13      142 F.3d 1150, 1155-56 (9th Cir. 1998).
                     14            32.    The bulk of Plaintiff’s Complaint alleges violations of the Fair
                     15      Employment and Housing Act, which authorizes an award of reasonable attorneys’
                     16      fees to a prevailing plaintiff. CAL. GOV. CODE §12965(b). While Plaintiff’s attorneys’
                     17      fees cannot be precisely calculated, it is reasonable to assume that they could exceed a
                     18      damages award. Simmons v. PCR Tech., 209 F. Supp. 2d 1029, 1035 (N.D. Cal. 2002)
                     19      (noting that “attorneys’ fees in individual discrimination cases often exceed the
                     20      damages”).
                     21            33.    Any estimate of attorney’s fees includes fees over the life of the case, not
                     22      just the fees incurred at the time of removal. Id. “Recent estimates for the number of
                     23      hours expended through trial for employment cases in [the Central District of
                     24      California] have ranged from 100 to 300 hours.             Therefore, 100 hours is an
                     25      appropriate and conservative estimate. Accordingly, attorneys’ fees in [an
                     26      employment discrimination case alleging wrongful termination] may reasonably be
                     27      expected to equal at least $30,000 (100 hours x $300 per hour).” Sasso v. Noble Utah
                     28      Long Beach, LLC, Case No. CV 14-09154-AB (AJWx), 2015 U.S. Dist. LEXIS
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                        1    25921, at *12 (C.D. Cal. March 3, 2015)               (citations omitted).   Thus, Plaintiff’s
                        2    demand for attorneys’ fees adds at least $30,000 to the amount in controversy.
                        3             34.       Consequently, a preponderance of the evidence demonstrates that the
                        4    amount in controversy exceeds $75,000, exclusive of interest and costs.
                        5    III.     COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                        6             35.       This Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b),
                        7    as it is being filed within thirty days of service of the Complaint on Defendants on
                        8    June 6, 2016, and within one year after commencement of this action.
                        9             36.       As required by 28 U.S.C. § 1446(d), Defendants will promptly provide
                     10      written notice of this Notice of Removal to Marcus A. Mancini, Christopher Barnes,
                     11      Tara J. Licata, and Armando M. Solarzano, counsel for Plaintiff, and will also
                     12      promptly file a copy of this Notice of Removal with the Clerk of the Superior Court of
                     13      the State of California, County of Los Angeles.
                     14      IV.      CONCLUSION
                     15               WHEREFORE, having fulfilled all statutory requirements, Defendants remove
                     16      this action from the Superior Court of Los Angeles County, California, to this Court,
                     17      and request that this Court assume full jurisdiction over this matter as provided by
                     18      law.
                     19
                     20      Dated: July 6, 2016
                     21
                     22                                                          /s/ Ashley J. Brick
                                                                                KARA L. JASSY
                     23                                                         ASHLEY J. BRICK
                                                                                LITTLER MENDELSON, P.C.
                     24                                                         Attorneys for Defendants
                                                                                AMERISOURCEBERGEN
                     25                                                         CORPORATION and WORLD
                                                                                COURIER INC.
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